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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                    CASE NO. 06-60350-CR-COHN/Snow




 UNITED STATES OF AMERICA,

             Plaintiff,

 v.

 PROSPERE VERNET, et al.

           Defendants.
 ______________________________
                                 O R D E R

             THIS CAUSE is before the Court on defendant Aldrian

 Bowe’s Motion to Excuse Attendance at Status Conference (DE 299),

 which was referred to United States Magistrate Judge, Lurana S.
 Snow.   Being fully advised, it is hereby

             ORDERED    AND   ADJUDGED   that   the   motion   is   GRANTED.

 Defendant Aldrian Bowe and counsel Hilliard Moldof are excused

 from the Status Conference currently set for July 5, 2007 @ 11:30

 a.m.
             DONE AND ORDERED at Fort Lauderdale, Florida, this 3rd

 day of July, 2007.




 Copies to:

 See Attached Service List
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